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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF IOWA
                                 (CENTRAL DIVISION)

                                                     )
 GUIDEONE INSURANCE COMPANY (f/k/a                   )
 GUIDEONE MUTUAL INSURANCE                           )
 COMPANY) and GUIDEONE NATIONAL                      )
 INSURANCE COMPANY,                                  )
                                                     ) Civil Action No. 23-cv-00493-RGE-
        Plaintiffs                                   ) WPK
                                                     )
 v.                                                  ) FIRST AMENDED COMPLAINT
                                                     )
 PICC PROPERTY AND CASUALTY                          ) JURY TRIAL DEMANDED
 COMPANY CO. LTD, SHENZHEN                           )
 BRANCH, and PICC PROPERTY AND                       )
 CASUALTY COMPANY CO. LTD.,                          )
                                                     )
        Defendant.                                   )
                                                     )

                               FIRST AMENDED COMPLAINT

       Plaintiffs GuideOne Insurance Company (formerly known as GuideOne Mutual Insurance

Company) and GuideOne National Insurance Company (collectively, “GuideOne”) currently

allege the following in support of their claims against Defendants PICC Property and Casualty

Company Co. Ltd, Shenzhen Branch, and PICC Property and Casualty Company Co. Ltd.

(together, “PICC”).

                                        INTRODUCTION

       1.      GuideOne is a family of insurance companies headquartered and rooted in Iowa. It

provides a wide array of commercial insurance solutions to its clients, including property, casualty,

and workers’ compensation insurance. Founded in 1947, GuideOne currently employs roughly

500 professionals, the majority of which are located in the State of Iowa.

       2.      Like most other insurance companies, GuideOne mitigates its risk, reduces its net

exposure, and protects its capital via the purchase of reinsurance.

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       3.      Reinsurance is insurance for insurance companies.

       4.      PICC are insurance and reinsurance entities based in China.

       5.      PICC agreed to reinsure GuideOne with respect to various property insurance

accounts in the sectors of power generation, mining, energy, and heavy industry, including accounts

for several large domestic and multinational corporations.

       6.      GuideOne has submitted various reinsurance claims to PICC, including

presentations associated with the accounts referenced in Paragraph 5, beginning in August 2021.

       7.      As described below, this case arises from PICC’s breaches of its binding

reinsurance agreements with GuideOne, including but not limited to PICC’s failures or refusals to

pay GuideOne’s valid claims for reinsurance reimbursement.

                                         THE PARTIES

       8.      GuideOne Insurance Company (f/k/a GuideOne Mutual Insurance Company) is an

insurer incorporated in Iowa. GuideOne Insurance Company’s principal place of business and

headquarters are located in West Des Moines, Iowa.

       9.      GuideOne National Insurance Company is an insurance company incorporated in

Iowa. GuideOne National Insurance Company’s principal place of business and headquarters are

located in West Des Moines, Iowa.

       10.     PICC Property and Casualty Company Co. Ltd, Shenzhen Branch, is an insurer and

reinsurer domiciled in China, and its principal place of business is located in Shenzhen, China.

       11.     PICC Property and Casualty Company Co. Ltd. is an insurer and reinsurer

domiciled in China, and its principal place of business is located in China.




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                                 JURISDICTION AND VENUE

       12.     This Court has jurisdiction over GuideOne’s claims under 28 U.S.C. § 1332(a)(2),

because there is complete diversity of citizenship between GuideOne and PICC. Each of the

GuideOne entities is a citizen of Iowa. Each PICC entity is a citizen of a foreign nation state. The

amount in controversy materially exceeds $75,000.

       13.     This Court is authorized to exercise personal jurisdiction over PICC because, among

other jurisdictionally significant facts, PICC consummated contracts that include Iowa choice of law

and Iowa forum selection provisions. In addition, PICC purposefully directed its commercial

activities to Iowa, and the claims against PICC arise out of and relate to PICC’s activities in and

interactions with Iowa. Among its other commercial forays into the State, PICC served as a reinsurer

of insurance companies headquartered in Iowa. PICC and/or its broker agents directed emails and

telephone calls to Iowa concerning the subject matter of this dispute. PICC’s conduct has caused,

and continues to cause, significant damage to GuideOne in Iowa.

       14.      Venue lies in this district, because a substantial number of the events giving rise to

the subject claims took place here, and/or because venue is not appropriate in any other judicial

district in the United States. See 28 U.S.C. § 1391.

                                   STATEMENT OF FACTS

       15.     In October 2020, Career General Agency LLC (“CGA”), a GuideOne affiliate, and

PICC entered into a “Binding Authority Agreement” (“BAA”).

       16.     Under the BAA, PICC granted to CGA express authority to bind insurance and

reinsurance cover on behalf of PICC. More specifically, the BAA permits CGA to bind PICC to

issue reinsurance coverage with respect to insurance policies to be issued by GuideOne or other

insurance carriers.



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        17.     The BAA also contains an Iowa forum selection clause requiring resolution of

disputes in a federal or state court sitting in Iowa.

        18.     In 2020 and 2021, CGA issued various reinsurance binders further to the BAA under

which PICC agreed to provide facultative reinsurance coverage of specified underlying insurance

policies issued by GuideOne (the “Reinsurance Agreements”).

        19.     PICC entered into Reinsurance Agreements with GuideOne with respect to property

insurance policies issued by GuideOne regarding several large domestic and multinational

policyholder corporations in the sectors of power generation, mining, energy, and heavy industry.

        20.     GuideOne paid premium exceeding $15 million to PICC in consideration for

coverage under the Reinsurance Agreements. In addition, by agreement with PICC, GuideOne is

holding ceded premium as an offset against outstanding claims subject to reimbursement -- the

amount of outstanding claims significantly exceeds the premium being held.

        21.     The Reinsurance Agreements incorporate the BAA’s bargained-for terms, including

its Iowa forum selection clause. In fact, each Reinsurance Agreement confirms that PICC’s and

GuideOne’s “participation is subject to” the BAA wording.

        22.     In good faith, GuideOne has paid covered insurance claims tendered by its

policyholders to GuideOne with regard to policies reinsured by PICC via the Reinsurance

Agreements.

        23.     Beginning on or about August 3, 2021, GuideOne submitted two particular claims

for reinsurance reimbursement to PICC, emanating from GuideOne’s policyholder payments, by

which GuideOne sought reimbursement in accordance with the Reinsurance Agreements. GuideOne

has submitted all required documentation to enable PICC to review, process, and pay these claims.




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Unfortunately, more than two years and five months have elapsed, and PICC has failed or declined

to issue any payment of these two claims notwithstanding its bargain.

       24.     GuideOne has directed no fewer than 87 requests for reinsurance reimbursement to

PICC relating to a number of reinsurance claims.

       25.     On information and belief, on or around the time when GuideOne entered into

reinsurance contracts with PICC, PICC directly contracted with Broadspire Services, Inc.

(“Broadspire”) to serve as a third-party administrator (or, “TPA”) of reinsurance claims advanced

under certain reinsurance contracts entered into by PICC, including reinsurance contracts issued by

PICC to GuideOne. On or about October 2022, PICC and Broadspire terminated their relationship

and, notwithstanding the need for claim administration, PICC has failed or declined to contract with

a replacement TPA to provide reinsurance claims handling services. At the same time, PICC has

failed to engage in professional claims handling on its own behalf -- to the detriment of GuideOne.

Due to PICC’s failure to obtain claims handling services from an outside professional or to handle

the subject claims professionally on its own, GuideOne’s requests for reinsurance reimbursement

have been deferred indefinitely.

       26.     PICC has conceded its reimbursement obligation with regard to various

Reinsurance Agreements by issuing payments in response to some reinsurance reimbursement

claims submitted by GuideOne totaling $8,585,386.93; however, the amount still owed by PICC

under the Reinsurance Agreements far exceeds the amount paid by PICC, to date, and the matter

in controversy materially exceeds $75,000.

       27.     In at least five instances involving GuideOne reinsurance contracts and claims,

PICC made an initial payment on GuideOne’s reinsurance claim but has since failed or declined

to pay the additional amounts owed to GuideOne concerning the same claims. As an example,



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with regard to GuideOne’s reinsurance claim made under Reinsurance Contract No. 098000136

and assigned GuideOne Claim No. AA152777, GuideOne noticed the claim in March 2022 and,

thereafter, provided supporting documentation. In November 2023, PICC paid $29,466.66 in

response to GuideOne’s reinsurance claim, but an additional $28,279.36 remains outstanding on

the same reinsurance claim and PICC has failed or declined to pay without explanation or reason.

       28.     As another example, GuideOne submitted a claim to PICC in connection with

Reinsurance Contract No. 098000113 and assigned GuideOne Claim No. AA155328. PICC was

one of seven subscribing reinsurers that covered a portion of the underlying risk insured by

GuideOne. The other six subscribing reinsurers have paid GuideOne’s claims with respect to the

same underlying loss in full. In total, the six other subscribing reinsurers have paid roughly $7.8

million in response to GuideOne’s reinsurance claim, while PICC has paid nothing and owes

approximately $4.3 million with respect to the same underlying loss. PICC has not advanced a

valid explanation or reason for its non-performance.

       29.     In response to GuideOne’s repeated demands for payment, PICC has articulated

pretextual objections that do not support its non-payment. By way of non-exclusive example, on

or around June 30, 2023, PICC declined to pay valid reinsurance claims purportedly because the

associated loss ratios on GuideOne business were higher than PICC had anticipated, which is not

a legal or market-valid excuse for non-payment.

       30.     By way of further example, on or around November 10, 2023, PICC contended

(through its broker) that it had not received timely notice of underlying claims. PICC’s objections

again fail to justify its non-performance, because: (1) GuideOne provided timely notice of claims

to Broadspire, thereby fulfilling GuideOne’s notice obligations under the BAA; (2) Broadspire

provided timely notice of claims to PICC during the period when Broadspire was employed as



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PICC’s TPA; and (3) PICC failed or declined to appoint a replacement TPA after PICC terminated

Broadspire. In essence, PICC seeks to blame GuideOne for PICC’s own decisions and other

failures.

        31.    PICC has failed or declined to pay certain GuideOne reinsurance claims, including

those related to losses GuideOne paid under policies referenced in Paragraph 22

        32.    As of the February 1, 2024, PICC owed GuideOne more than $43 million for properly

submitted reinsurance claims. In addition, GuideOne has established reserves exceeding $12

million, which will be added to GuideOne’s pending reinsurance claims submitted to PICC over

time, as the underlying insurance claims submitted to GuideOne are adjusted and paid by GuideOne.

        33.    PICC repeatedly has breached the Reinsurance Agreements, which has caused

damages to -- and continues to injure -- GuideOne.

                           COUNT I – BREACH OF CONTRACT

        34.    GuideOne incorporates all of the allegations set forth in the preceding Paragraphs.

        35.    PICC had the capacity to enter into the BAA and associated Reinsurance

Agreements.

        36.    GuideOne and PICC are parties to the bargained for Reinsurance Agreements.

        37.    The Reinsurance Agreements unambiguously require PICC to provide reinsurance

coverage to GuideOne, including claim reimbursements.

        38.    GuideOne has performed all of its contractual obligations under the Reinsurance

Agreements.

        39.    PICC has serially breached the Reinsurance Agreements by failing or refusing to

reimburse GuideOne’s valid reinsurance claims.




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        40.    GuideOne has suffered, and continues to incur, significant damages as a result of

PICC’s breaches and the matter in controversy materially exceeds $75,000.

         COUNT II – BAD FAITH – UNFAIR CLAIM SETTLEMENT PRACTICES

        41.    GuideOne incorporates all of the allegations set forth in the preceding Paragraphs.

        42.    PICC unreasonably and in bad faith failed or declined to pay GuideOne’s valid claims

for benefits under the terms of the Reinsurance Agreements, even after its liability for one or more

such claims had become reasonably clear.

        43.    In March 2023, although PICC informed GuideOne, via the broker, that it intended

to pay a significant reinsurance claim that GuideOne had submitted to PICC, PICC failed or

declined to reimburse GuideOne.

        44.    Instead, in December 2023, PICC informed GuideOne that it did not pay the same

large reinsurance claim because PICC had objections to different GuideOne claims and required

the opportunity to adjudicate them.

        45.    PICC has admitted to owing reimbursement for at least some portion of the claim(s)

submitted by GuideOne and has provided no reasonable explanation for its continuing refusal to

reimburse GuideOne for those claims as to which PICC has acknowledged a reimbursement

obligation.

        46.    In addition, PICC has failed to engage in professional claims handling by failing or

declining to retain a replacement TPA or claims staff, resulting in protracted delays in claim handling

and correspondence, and PICC’s failure or refusal to reimburse amounts owed to GuideOne by

PICC.

        47.    PICC has acted and continues to act in reckless disregard of its duties of good faith

and fair dealing, and the duty of utmost good faith it owes to GuideOne.



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         48.    PICC knows or has reason to know that there is no reasonable basis to deny

GuideOne’s valid claim(s) for reimbursement.

         49.    PICC’s bad faith was and is a proximate cause of GuideOne’s damages.

         50.    PICC’s conduct in breaching its duty of good faith and fair dealing constitutes willful

and wanton disregard of GuideOne’s rights.

         51.    PICC’s bad faith in failing to pay GuideOne’s claims represents a violation of Iowa

Code chapter 507B. See, e.g., Iowa Code § 507B.4(3)(j)(13) (defining one unfair claims settlement

practice as: “Failing to promptly settle claims, where liability has become reasonably clear, under

one portion of the insurance policy coverage in order to influence settlements under other portions

of the insurance policy coverage”).

         52.    GuideOne is entitled to an award of punitive damages.

                                      PRAYER FOR RELIEF

         GuideOne requests that judgment be entered in its favor and against PICC in an amount

sufficient to compensate it for all damages incurred, including punitive damages, plus interest and

costs.




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                                  JURY TRIAL DEMAND

      GuideOne requests a jury trial on all claims.



                                                Respectfully submitted,

                                                GUIDEONE INSURANCE COMPANY (f/k/a,
                                                GUIDEONE MUTUAL INSURANCE
                                                COMPANY) and GUIDEONE NATIONAL
                                                INSURANCE COMPANY,

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Dated: February 13, 2024




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